      Case 1:20-cv-00083-DMT-CRH Document 14 Filed 08/03/20 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

National Surety Corporation,        )
                                    )    ORDER FOR STATUS CONFERENCE
              Plaintiff,            )
                                    )
       vs.                          )
                                    )
Stanley Black & Decker, Inc.,       )
                                    )    Case No. 1:20-cv-083
              Defendant.            )
______________________________________________________________________________

       A mid-discovery status conference will be held before the magistrate judge on November

30, 2020, at 10:00 a.m. The conference will be conducted via telephone conference. To participate

in the conference, counsel shall call the following number and enter the following access code:

       Tel. No.: (877) 810-9415

       Access Code: 8992581

       IT IS SO ORDERED.

       Dated this 3rd day of August, 2020.

                                             /s/ Clare R. Hochhalter
                                             Clare R. Hochhalter, Magistrate judge
                                             United States District Court
